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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

  CAROL V. TRIMINIO,
                                                                  CASE NO.: 16-cv-24137-KMW
                  Plaintiff,
  v.

  TD RETAIL CARD SERVICES
  and TRANS UNION, LLC,

                  Defendants.
                                          /

                     JOINT VOLUNTARY DISMISSAL WITH PREJUDICE

          Plaintiff, Carol Triminio (“Plaintiff”), and Defendant, TD Retail Card Services,

  (“Defendant”) (collectively referred to as the “parties”), by and through the undersigned counsels

  of record, pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure, hereby file this

  Joint Voluntary Dismissal of this action. Plaintiff agrees to dismiss the instant action against

  Defendant with prejudice. Plaintiff and Defendant agree to bear responsibility for their own

  attorney’s fees and costs associated with the instant action, except as otherwise agreed. The

  parties represent that all issues related to this action are resolved and satisfied.

          Date: December 27, 2016


  s/ Christopher Legg                                   s/ Emily Rottman
  Christopher W. Legg, Esq                              Emily Rottman, Esq.
  Buchwald Legg, PLLC                                   McGuire Woods, LLP
  3837 Hollywood Blvd., Ste. B                          50 N. Laura Street, Ste. 3300
  Hollywood, FL 33021                                   Jacksonville, Florida 32202

  Attorney for Plaintiff                               Attorney for Defendant
  Carol Triminio                                       TD Retail Card Services
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 27, 2016, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this date via U.S. mail and/ or some other authorized manner for those counsel or
  parties, if any, who are not authorized to receive electronically Notices of Electronic Filing.


                                                By: /s/ Christopher Legg
                                                Christopher W. Legg, Esq.
